              C a s e 1:1:20-mc-00207-PAE
              Case       2 0- m c- 0 0 2 0 7- P A E DDocument
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                                                            JOS E P H P A U K M A N
                                                           A TT ORNEY AT LA W
                                                      --------------------------------
                                                   2 6 6 1 C o n e y Isl a n d A v e # 1 0 7
                                                          B r o o kl y n, N Y 1 1 2 2 3
                                                           t el: ( 7 1 8) 7 3 6- 4 0 5 0
                                                           f a x: ( 4 8 4) 7 3 6- 4 0 5 0
                                                                 3 3 6 @t ut a.i o


                                                                J a n u ar y 1 4, 2 0 2 1

T h e H o n or a bl e J u d g e P a ul A. E n g el m a y er
U nit e d St at es Distri ct J u d g e
S o ut h er n Distri ct of N e w Y or k
5 0 0 P e arl Str e et.
N e w Y or k, N Y 1 0 0 0 7

                                                         R e:         T h o m ps o n v St ei n b er g et al
                                                                      2 0- m c- 0 0 2 0 7- P A E
                                                                      ===================


D e ar J u d g e E n g el m a y er;


           T his l ett er- m oti o n is t o wit h dr a w D o c k et # 1 wit h o ut pr ej u di c e as it is a d u pli c at e of a

m oti o n fil e d i n t h e U S A v Br o nst ei n 0 0- cr- 1 0 0, D o c k et 1 1 5, cri mi n al c as e a n d b e c a us e t o d a y I

r e c ei v e d a l ett er fr o m D a ni el St ei n b er g as ki n g m e t o wit h dr a w t h e a b o v e-r ef er e n c e d pr o c e e di n g

( D o c k et 1) or h e will s e e k r ul e 1 1 s a n cti o ns mist a k e nl y a c c usi n g m e of “f ail ur e t o pr o c e e d i n

g o o d f ait h a n d l e a vi n g s ai d D o c k et # 1 d or m a nt ”. D o c k et 1 w as fil e d wit h t h e l ett er h e a d



                                      T h e C o urt h as r e c ei v e d a l ett er fr o m att or n e y J os e p h P a u k m a n, w hi c h is
                                      i n c o m pl et e, d o es n ot h a v e a cl e ar p ur p os e, a n d d o es n ot s e e k r eli ef fr o m t h e
                                      C o urt. S e e D kt. 3. T his l ett er tr a c ks a si mil ar l ett er fil e d i n t h e ass o ci at e d
                                      cri mi n al c as e, 0 0 Cr. 1 0 0, w hi c h t h e C o urt h as r es p o n d e d t o b y or d er t o d a y. S e e
                                      D kt. 1 2 8 i n 0 0 Cr. 1 0 0. As r efl e ct e d i n t h e C o urt’s m ost r e c e nt or d er, t h er e is n o
                                      c a us e f or j u di ci al a cti o n i n eit h er of t h es e c as es. E x c e pt i n t h e e v e nt of n e w
                                      d e v el o p m e nts m eriti n g t h e C o urt’s i nt er v e nti o n, t h e C o urt d o es n ot s e e a c a us e
                                      f or f urt h er c orr es p o n d e n c e i n t h es e m att ers. S O O R D E R E D.
1                                                                                  PaJA.�
                                                                            __________________________________
                                                                            __________________________________
                                                                                  P A U L A.
                                                                                  PAUL       A. ENGELMAYER
                                                                                                  E N GEL M A YER
                                                                                  U nit e d StStates
                                                                                  United       at es Distri ct J Judge
                                                                                                      District   u d ge
                                                                                    1/ 1 9/ 2 0 2 1
